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                                                                                          EASTERN DISTRICT OF CAUFORNlA

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 8                                IN THE UNITED STATES DISTRICT COUR

 9                                      EASTERN DISTRICT OF CALIFORNIA

IO
11 UNITED STATES OF AMERICA,                             CASE NO, 1:20-CR-238-JLT-SKO
12                                 Plaintiff:                              · UNDERSEAL
13                           V.                          VIOLATIONS: 18 U.S.C. § 1962(d)-Conspiracy to
                                                         Participate in a Racketeering Enterprise;
14 KENNETH BASH (aka "Kenny" aka "Bash"),                18 U.S.C. § 1959(a)(l)- Murder i� Aid of .
   KENNETH JOHNSON (aka "K" aka                          Racketeering(4 counts); 18 U.S.C. § 1959(a)(5)­
15 "Kenwood';), .                                        Conspiracy to Commit Murder in Aid of
   FRANCIS CLEMENT aka "Frank"                           Racketeering; 21 U.S.C. §§ 846, 84l(a)(l)­
16                                                       Conspitacy to Distribute and to Possess with Intent to
                                                         Distribute Methamphetamine and Heroin;
17                                                       21 U.S.C. § 84l(a)(l)-Possession with Intent to
                                                 '       Distribute Methamphetamine (3 counts); 21 U.S.C. §
18                                                       841(a)(1) -Possession with Intent to Distribute
                                                         Heroin; 18 U.S.C. § 924(c)- Using or Carrying a
19                                                       Firearm During and in Relatipn to a Drug Trafficking
                                                         Offense; 18 U.S.C. § 922(g)(l}-Feloii in Possession
20   SAMANTHA BOOTH,                                     of Firearm; 21 U.S.C. § 84l(a)(l) · Distribution of
                                  Defendants.            Methamphetamine; 21 U.S.C. § 853(a), 18 U.S.C. §§                    .l
21                                                       19(>3(a)(l), 1963(a)(2), 1963(a)(3), 18 U;S.C. §
                                                         924(cl)(l), and 28 U.S.C. § 2461(c) Criminal
22                                                       Forfeiture
23
24

25 GENERAL ALLEGATIONS
26 At all times relevant to this Second Superseding Indictment:
27                            · The Racketeering Enterprise: The Aryan Brotherhood . · ·
28

                                                        ' 1
                         '          '




     • SECOND SUPERSEDING INDICTMENT
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